Case 23-13359-VFP            Doc 1033      Filed 06/26/23 Entered 06/26/23 15:34:51                        Desc Main
                                          Document     Page 1 of 6



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

                                                              )
  In re:                                                      )   Chapter 11
                                                              )
  BED BATH & BEYOND INC., et al., 1                           )   Case No. 23-13359 (VFP)
                                                              )
                                       Debtors.               )   (Jointly Administered)
                                                              )
                                                              )   Re: Docket Nos. 92 and 714

       OBJECTION OF KIMCO RIVERVIEW, LLC, WEINGARTEN NOSTAT, LLC,
       FLAGLER S.C., LLC, KSI CARY 483, LLC, MOORESVILLE CROSSING, LP,
          KIR SONCY L.P., CFH REALTY III/SUNSET VALLEY, L.P., CONROE
         MARKETPLACE, S.C., L.P., PRICE BAYBROOK LTD., PL DULLES LLC,
      WRI-URS SOUTH HILL, LLC, FRANKLIN PARK S.C., LLC, AND KIR TUKWILA,
        L.P. TO NOTICE TO CONTRACT PARTIES TO POTENTIALLY ASSUMED
                 EXECUTORY CONTRACTS AND UNEXPIRED LEASES

           Kimco Riverview, LLC, Weingarten Nostat, LLC, Flagler S.C., LLC, KSI Cary 483,

 LLC, Mooresville Crossing, LP, KIR Soncy L.P., CFH Realty III/Sunset Valley, L.P., Conroe

 Marketplace S.C., L.P., Price/Baybrook Ltd., PL Dulles LLC, WRI-URS South Hill, LLC,

 Franklin Park, S.C., LLC, and KIR Tukwila L.P. (collectively, the “Landlords”), by and through

 their undersigned counsel, file this objection (the “Objection”) to certain proposed Cure

 Payments reflected in the Notice To Contract Parties To Potentially Assumed Executory

 Contracts And Unexpired Leases [Doc. No. 714] (the “Cure Notice”). 2 In support of this

 Objection, Landlords respectfully state as follows:




  1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
  Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
  of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath
  & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 650 Liberty
  Avenue, Union, New Jersey 07083.

  2
   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Cure
  Notice.



 AFDOCS:198447155.2
Case 23-13359-VFP         Doc 1033    Filed 06/26/23 Entered 06/26/23 15:34:51                 Desc Main
                                     Document     Page 2 of 6



                                          BACKGROUND

         1.       On April 23, 2023 (the “Petition Date”), the above-captioned debtors and debtors

 in possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of

 title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and thereby

 commenced these chapter 11 cases in the United States Bankruptcy Court for the District of New

 Jersey (the “Court”). No request has been made for the appointment of a trustee or examiner, and

 the Debtors continue to operate its business as a debtors-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code.

         2.       On May 5, 2023, an Official Committee of Unsecured Creditors was appointed in

 these chapter 11 cases by the Office of the United States Trustee [Doc. No. 218].

         3.       Each Landlord is the owner of a shopping center in which the Debtors operate a

 retail store pursuant to a nonresidential real property lease (collectively, the “Leases”).

         4.       On April 25, 2023, the Court entered the Order (I)(A) Approving the Auction and

 Bidding Procedures, (B) Approving Stalking Horse Bid Protections, (C) Scheduling Bid

 Deadlines and an Auction, (D) Approving the Form and Manner of Notice Thereof, (E)

 Approving the Form APA, and (II)(A) Establishing Notice and Procedures for the Assumption

 and Assignment of Contracts and Leases, (B) Authorizing the Assumption and Assignment of

 Assumed Contracts, (C) Authorizing the Sale of Assets and (D) Granting Related Relief [Doc.

 No. 92] (the “Bidding Procedures Order”) in these chapter 11 cases.

         5.       On June 13, 2023, pursuant to the Bidding Procedures Order, the Debtors filed

 the Cure Notice which included a list of contracts and agreements on Exhibit A thereto that the

 Debtors may assume and assign to the Successful Bidder upon approval of a Sale Transaction

 and corresponding Cure Payments for unpaid monetary obligations under such executory

 contract or unexpired lease.

                                                   2
 AFDOCS:198447155.2
Case 23-13359-VFP         Doc 1033    Filed 06/26/23 Entered 06/26/23 15:34:51               Desc Main
                                     Document     Page 3 of 6



         6.       The Landlords are counterparties to certain Leases included in the Cure Notice

 and, to the extent set forth herein, submit this Objection to the corresponding Cure Payments

 included with respect to those Leases with the Landlords.

                                        CURE OBJECTION

         7.       Section 365 of the Bankruptcy Code generally permits a debtor to assume or to

 reject an unexpired lease in the debtor’s discretion. However, in order to sell an unexpired lease

 under section 363 of the Bankruptcy Code, the Debtors must actually assume and assign the

 subject lease, under section 365 of the Bankruptcy Code, and (i) cure (or provide adequate

 assurance that they will promptly cure) all defaults that exist as of the Petition Date; (ii)

 compensate, or provide adequate assurance that they will compensate, the counter-party to the

 unexpired lease for any pecuniary loss arising from such defaults and (iii) provide adequate

 assurance of future performance consistent with the heightened protections afforded to landlords

 of shopping centers under section 365(b)(3) of the Bankruptcy Code. 11 U.S.C. § 365.

         8.       Additionally, in accordance with section 365(d)(3) of the Bankruptcy Code, all

 post-petition rent (i.e., base rent and additional rent, including but not limited to, CAM, electric,

 taxes and related charges and expenses) must be paid by the Debtors under the Leases until such

 time as each Lease is rejected or assumed and assigned.

         9.       The proposed Cure Payments in connection with the Leases as they appear in the

 Cure Notice are improper. The correct amounts should be as follows:




                                                   3
 AFDOCS:198447155.2
Case 23-13359-VFP               Doc 1033    Filed 06/26/23 Entered 06/26/23 15:34:51                   Desc Main
                                           Document     Page 4 of 6



           Landlord               Store          Site Name/Location                 Proposed Cure Correct Cure
                                 Number                                               Payments     Payments 3
     Kimco Riverview, LLC          1162     Mesa Riverview; Mesa, AZ                        $313.65         $20,894.10

     Weingarten Nostat, LLC         214     Sunset Point 19 S.C.; Clearwater, FL          $12,786.79        $51,920.51

     Flagler S.C., LLC              3025    Flagler Park Plaza; Miami, FL                 $15,218.32        $40,643.50

     KSI Cary 482, LLC              124     Crossroads Plaza – Cary; Cary, NC                  $0.00        $24,267.56

     Mooresville Crossing, LP       1179    Mooresville Crossing; Mooresville, NC              $0.00          $2,539.34

     KIR Soncy L.P.                 352     Westgate Plaza – Shops at Soncy;                   $0.00          $6,349.41
                                            Amarillo, TX

     CFH Realty III/Sunset           97     Sunset Valley Marketfair; Austin, TX               $0.00        $75,424.92
     Valley, L.P.

     CFH Realty III/Sunset          3018    Sunset Valley Marketfair; Austin, TX               $0.00       $175,786.08
     Valley, L.P.

     Conroe Marketplace S.C.,       1117    Conroe Marketplace; Conroe, TX               $109,606.72       $112,022.26
     L.P.

     Price/Baybrook Ltd.             51     Center at Baybrook; Webster, TX                    $0.00          $3,961.84


     Price/Baybrook Ltd.            3067    Center at Baybrook; Webster, TX                    $0.00          $6,949.79

     PL Dulles LLC                  393     Dulles Town Crossing; Sterling, VA                 $0.00        $23,459.74

     WRI-URS South Hill, LLC        417     South Hill Center; Puyallup, WA                    $0.00        $27,787.33

     Franklin Park S.C., LLC        362     Franklin Park S.C.; Spokane, WA                    $0.00        $21,413.45

     KIR Tukwila L.P.               3098    Parkway Super Center; Tukwila, WA             $42,153.89        $66,287.39




            10.          With respect to the Cure Payments reflected herein and any post-petition

 amounts due under the Leases, Landlords expressly reserve the right to collect all year-end

 adjustments or other amounts that are due and payable under any Lease, regardless of their


 3
   Certain of the corrected Cure Payments include unpaid amounts of the post-petition (including stub rent). The
 Landlords will provide supporting documentation for the corrected Cure Payments upon request of the Debtors or its
 professionals.


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 AFDOCS:198447155.2
Case 23-13359-VFP         Doc 1033    Filed 06/26/23 Entered 06/26/23 15:34:51             Desc Main
                                     Document     Page 5 of 6



 accrual or billing date, and amounts not yet known as of the date of this Objection. Said

 amounts include, but are not limited to, charges/reconciliations for common area maintenance

 charges, insurance and real estate taxes. Because some of these charges are payable in arrears,

 the amounts due cannot be calculated at this time. Nevertheless, the Debtors and/or the eventual

 assignee will continue to be liable for all such charges as and when they come due under the

 Leases. Accordingly, the Debtors must be required to escrow and/or segregate sufficient funds

 to compensate Landlords for said charges when billed under the Leases or, in the alternative,

 any assignee of a Lease must be expressly held liable to pay such charges (in full and when

 due under the Lease) to the Landlords, regardless of whether said charges relate to periods that

 pre-date any assumption and assignment of the Leases.

         11.      Furthermore, each of the Landlords is also entitled to recover attorneys’ fees and

 costs incurred with respect to the enforcement of the Leases. As a result, Landlords expressly

 reserve the right to seek payment of such fees and expenses. See Travelers Casualty & Surety

 Co. of America v. Pacific Gas & Electric, 127 S. Ct. 1199, 1206 (2007).

                                   RESERVATION OF RIGHTS

         12.      Landlords expressly reserve all of their rights to supplement, modify or amend

 this Objection and make such other and further objections to the Cure Notice or any assumption

 and assignment of the Leases until such time as a final order is entered approving the Cure

 Payments with respect to the Leases. Nothing set forth herein shall constitute a waiver, discharge

 or disallowance of any and all rights, claims, causes of action and defenses that Landlords have

 asserted, or may assert, with respect to any of proofs of claim against the Debtors. In addition,

 nothing set forth herein shall be construed as a waiver, release, discharge or disallowance of any

 and all administrative claims of the Landlords against the Debtors.


                                                   5
 AFDOCS:198447155.2
Case 23-13359-VFP       Doc 1033     Filed 06/26/23 Entered 06/26/23 15:34:51            Desc Main
                                    Document     Page 6 of 6



                                            CONCLUSION

            WHEREFORE, Landlords respectfully requests that this Court enter an order (i)

   reserving the Landlords’ rights to appropriate Cure Payments; and (ii) granting such other and

   further relief as this Court deems just and proper.


   Dated: New York, New York
          June 26, 2023
                                                   ARENTFOX SCHIFF LLP


                                                   By: /s/ Brett D. Goodman
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                                                  6
 AFDOCS:198447155.2
